       Case 4:09-cr-00006-MFU                  Document 370 Filed 01/21/16              Page 1 of 1                  Pageid#:
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%AO247(02/08) OrderRegardi
                         ngMotionforSentenceReduction
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                                                 WesternDistrictofVirginia                              JAd 21- 2216
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                 United StatesofAmerica                                                                              N LER
                             M.
                  BRIAN HEATH DOSS                             CaseN o: 4:09-cr-00006-003
                                                               U SM N o:08001-084
DateofPreviousJudgment:             10/23/2012
(UseDateofLastAmendedJudgmentifApplicable)                     Defendant'sAttorney

                OrderRegardingM otionfofSentenceReductionPursuantto18U.S.C.j3582(c)(2)
        Uponmotionof V1thedefendantU1theDirectoroftheBureauofPrisonsFRIthecourtunder18U.S.C.
j3582(c)42)forareduction intheterm ofimprisonmentimposedbaed onaguidelinesentencingrangethathas
subsequently been lowered and maderetroactiveby theUnited StatesSentencing Comm ission pursuantto 28 U.S.C.
j994(u),andhavingconsideredsuchmotion,
IT Is olto>m Am thatthe motion is:
        EZI
         (IDENIED. H GRANTEDandthedefendant'spreviouslyimposedsentenceofimprisonment(asreflectedin
                         thelastjudgmentissued)of                           monthsis reduced to                                 .
1. COURT DETE          ATION OF GUIDELG E RANGE (PriortoAnyDepartures)
PreviousOffenseLevel:                          Amended OffenseLevel:
CriminalHistory Category:                      Crim inalHistory Category:
PreviousGuidelineRange:         to     months 'Am endedGuidelineRange:                                           to        m onths
II. SENTENCE RELATW E TO AM ENDED GUD ELINE RANGE
F1Thereducedsentenceiswithintheamendedguidelinerange.
r.
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  -j
   lThepreviousterm ofimprisonmentimposedwaslessthantheguidelinerangeapplicabletothedefendantatthetime
   ofsentencing asaresultofadeparture orRule35 reduction,andthereducedsentenceiscomparably lessthan the
   amended guidelinerange.
1.
 71Other(explain):



111. ADDITIONAL COM M ENTS
    Because Defendantwas sentenced pursuantto the careeropenderguidelines,he is noteligible fora reduction
    underAmendment782.


Exceptmsprov'idedabove,allprovisionsofthejudgmentdated 10/23/2012 shallremainin effect.
IT IS SO ORDERED .                                                                                           '
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OrderDate: t t                    l                             .
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                                                                                     Judge'ssignature
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EffectiveDate:                                                      Hon.Jackson L.Kiser,SeniorU.S.Distri
                                                                                                       ctJudge
                  (ifdifferent9om orderdate)                                     Printednameandtitle
